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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CASE NO. 21-cr-00409-RM

UNITED STATES OF AMERICA,

              Plaintiff,

v.

ROBERT MICHAEL LAIR,

           Defendant.
______________________________________________________________________

        DEFENDANT’S UNOPPOSED MOTION TO EXCLUDE 30 DAYS
                     FROM THE SPEEDY TRIAL ACT
_____________________________________________________________________

       Mr. Robert Lair, by and through undersigned counsel, Natalie Stricklin, moves

this Court for an Order excluding 30 days from the Speedy Trial Act computations and

re-setting dates and filing deadlines. In support thereof, Mr. Lair states:

              PROCEDURAL HISTORY AND FACTUAL BACKGROUND

       On December 8, 2021, an indictment was filed against Mr. Lair alleging one

count of possession of a firearm and ammunition by a previously convicted felon in

violation of 18 U.S.C. § 922(g)(1). The charges result from a traffic stop. At the time of

the stop, law enforcement located a loaded firearm in the vehicle.

       On May 4, 2022, Mr. Lair was arrested on the indictment. On May 10, 2022, Mr.

Lair was arraigned on the indictment and entered a plea of not guilty to the charged

count. Mr. Lair was released on pretrial release conditions three days later, on May 13,

2022. His pretrial release was revoked on May 24, 2022. A five-day jury trial was set

for July 11, 2022. A deadline to file pre-trial motions was set for May 31, 2022. This

motion requests the exclusion of 30 days under the Speedy Trial Act.
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       Undersigned counsel received a batch of discovery on May 19, 2022. That

discovery included approximately 193 pages of documents. The disclosed material is

comprised of law enforcement reports, photographs, criminal history documents, some

laboratory reports, and Colorado court documents. Four body worn camera videos

were disclosed on May 20, 2022. Counsel has reviewed all of the material disclosed.

                LAW REGARDING REQUESTS FOR CONTINUANCES

       This Court is authorized under 18 U.S.C. § 3161(h)(7) to exclude from the time

limitations set forth in the Speedy Trial Act any delay for which the ends of justice

served by the delay outweigh the best interest of the public and the defendant in a

speedy trial. One factor for the Court to consider in granting this delay is “[w]hether the

failure to grant such a continuance in the proceeding would be likely to make a

continuation of such proceeding impossible, or result in a miscarriage of justice.” 18

U.S.C. § 3161(h)(7)(B)(I). An additional factor, set forth in 18 U.S.C. §

3161(h)(7)(B)(iv), is whether failure to grant such a continuance “would deny counsel for

the defendant . . . the reasonable time necessary for effective preparation, taking into

account the exercise of due diligence.” In evaluating a request for an ends of justice

continuance, “the record must clearly establish the district court considered the proper

factors at the time such a continuance was granted.” United States v. Toombs, 574

F.3d 1262, 1269 (10th Cir. 2009) (quoting United States v. Gonzales, 137 F.3d 1431,

1433 (10th Cir. 1998)). The record must explain why the event identified by the moving

party as necessitating the continuance results in the need for additional time. See id. at

1271. Simply stating the event followed by a conclusory statement that the event

necessitates further time does not satisfy the Speedy Trial Act. See id. at 1271-72.


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       In United States v. West, 828 F.2d 1468, 1470 (10th Cir. 1987), the Tenth Circuit

set forth four factors a court should consider when evaluating if a continuance should be

granted: (1) the diligence of the party requesting the continuance, (2) the likelihood that

the continuance, if granted, would accomplish the purpose underlying the request for

continuance, (3) the inconvenience to the opposing party, its witnesses, and the court

resulting from the continuance, and (4) the need asserted for the continuance and the

harm that could be suffered because of the court’s denial of the continuance.

                                        ARGUMENT

       Defense counsel’s request for a continuance satisfies the criteria set forth in 18

U.S.C. § 3161(h)(7) and factors set forth in United States v. West.

       Defense counsel has reviewed all discovery disclosed. Although counsel has

had the discovery for approximately one week, she spent most of her time related to Mr.

Lair investigating and litigating the alleged pretrial release violation. Following her

review, counsel has determined the need to research a potential suppression motion

related to the search of the vehicle, specifically addressing, under the specific

circumstances alleged here, at what point in time the officers peering into the vehicle

becomes a search.

       Additionally, from a review of Mr. Lair’s criminal history, counsel has requested

court records from three prior cases. Receipt of these records and subsequent legal

research related to a South Dakota drug conviction is necessary to determine whether

Mr. Lair is eligible for enhanced sentencing under 18 U.S.C. § 924(e). Further, Mr. Lair

has several pending state court matters where counsel must consult with Mr. Lair’s

various attorneys regarding the impact of those cases on the federal case and the

impact of the federal case on those matters. Counsel cannot properly advise Mr. Lair
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without having conducted this necessary research and consulted with the state court

attorneys.

       Defense counsel has conferred with Assistant United States Attorney Conor

Flanigan who does not oppose this motion.

       Examining the factors articulated in United States v. West, defense counsel

notes this motion is being filed sufficiently prior to trial and within the deadline set by this

Court. The need for the continuance – effective representation – outweighs any harm to

government witnesses who are likely all members of law enforcement. Further, the

government does not oppose this request. Therefore, the West factors have been

satisfied.

       If a continuance is not granted, a miscarriage of justice would result, and defense

counsel will be denied the reasonable time necessary for effective representation and

preparation. Granting the continuance will give counsel the additional time needed. At

this time, the defense believes that 30 days, a short continuance, will be sufficient time

to complete these tasks. Counsel explained the contents of this motion to Mr. Lair, who

agrees with the requested continuance and exclusion of time.

                                            Respectfully submitted,
                                            VIRGINIA L. GRADY
                                            Federal Public Defender


                                            s/Natalie Stricklin
                                            NATALIE STRICKLIN
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 31, 2022, I electronically filed the foregoing
Defendant’s Unopposed Motion to Exclude 30 Days from the Speedy Trial Act with
the Clerk of Court using the CM/ECF system, which will send notification of such filing to
the following e-mail address:

       Conor A. Flanigan, Assistant United States Attorney
       E-mail: conor.flanigan@usdoj.gov

        I hereby certify that I have mailed or served the document or paper to the
following participant in the manner (mail, hand-delivery, etc.) indicated next to the
participant’s name:

       Robert Lair (via mail)

                                          s/Natalie Stricklin
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